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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE
____________________________________
                                     :
CRANE MERCHANDISING                  :
SYSTEMS, INC.,                       :
                                     :
                Plaintiff,           :
                                     :    C.A. No. 17-1000-MN
             v.                      :
                                     :
NEWZOOM, LLC, BEST BUY STORES, :
L.P., BENEFIT COSMETICS LLC,         :
and MACY’S INC.,                     :
                                     :
                Defendants.          :
____________________________________:

                                    JOINT STATUS REPORT

       On March 13, 2020, the assistant general counsel of Crane Co. (the parent company of

Crane Merchandising Systems, Inc.) and the general counsel of Swyft Inc. (the parent company of

NewZoom LLC) agreed to a settlement via e-mail. On March 19, 2020, the parties notified the

Court that they reached a settlement in principle. D.I. 228. Pursuant to the parties’ request, the

Court stayed the case to permit the parties the opportunity to finalize the settlement and requested

status reports every twenty-one days. Docket Text re: D.I. 228.

       Since March 26, counsel for the parties have exchanged comments and revisions on the

proposed settlement agreement. While the parties continue to make progress, there is one term in

the proposed settlement agreement still being negotiated between Plaintiff and Defendant

NewZoom LLC. Additionally, issues have arisen between Best Buy Stores, LP and NewZoom

LLC that impact the settlement agreement. The parties need an additional week and will submit

their next joint status report no later than June 26, 2020.
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Dated: June 19, 2020

 YOUNG CONAWAY STARGATT &                        RICHARDS, LAYTON & FINGER, P.A.
 TAYLOR, LLP

  /s/ Samantha G. Wilson                         /s/ Kelly E. Farnan
 Adam W. Poff (No. 3990)                         Kelly E. Farnan (No. 4395)
 Samantha G. Wilson (No. 5816)                   Renée M. Delcollo (No. 6442)
 Rodney Square                                   One Rodney Square
 1000 North King Street                          920 North King Street
 Wilmington, Delaware 19801                      Wilmington, DE 19801
 (302) 571-6600                                  (302) 651-7700
 apoff@ycst.com                                  farnan@rlf.com
 swilson@ycst.com                                mosley@rlf.com

 Attorneys for Plaintiff/Counterclaim        Attorneys for Defendant/Counterclaim
 Defendant Crane Merchandising Systems, Inc. Plaintiff NewZoom LLC and for Defendants
                                             Best Buy Stores, L.P., Benefit Cosmetics LLC
                                             and Macy’s Inc.




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